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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
PLANCK LLC, d/b/a, PATCH MEDIA,                                                Case No. 20-cv-10959

                                        Plaintiff,
                                                                               COMPLAINT
                    – against –

PARTICLE MEDIA, INC., d/b/a, NEWS BREAK,                                       JURY TRIAL DEMANDED

                                        Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

          Plaintiff PLANCK LLC, d/b/a, PATCH MEDIA (“Patch” or “Plaintiff”), by its attorneys,

Judd Burstein, P.C., as and for its Complaint against Defendant PARTICLE MEDIA, INC., d/b/a,

NEWS BREAK (“Defendant” or “News Break”), alleges as follows:



                                          JURISDICTION AND VENUE

          1.        This is a case of willful copyright infringement in violation of 17 U.S.C. §§ 106(1)

and 501, and for the removal and/or alteration of copyright management information under Section

1202(b) of the Digital Millennium Copyright Act. As such, this Court has subject matter

jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal question jurisdiction); and 28

U.S.C. § 1338(a) (jurisdiction over copyright actions). This Court has pendent jurisdiction over

Plaintiff’s claim for breach of contract pursuant to 28 U.S.C. § 1367.

          2.        Venue lies in this District pursuant to 28 U.S.C. § 1391(b)(2), because, as alleged

in detail infra, a substantial part of the events giving rise to the claims herein occurred in this

judicial district, and because the contract underlying Plaintiff’s breach of contract claim against

Defendant requires the parties to litigate their disputes under that agreement in the “United States

federal and state courts in the Borough of Manhattan, New York[.]” (See Exhibit A hereto at p. 2,

§ 10).
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                                             PARTIES

       3.       Plaintiff Patch is a limited liability company organized under the laws of the State

of Delaware. Some of its limited partners are citizens of the State of New York. Plaintiff maintains

offices in New York.

       4.       Defendant News Break is a corporation organized under the laws of the State of

Delaware, with its principal place of business in Santa Clara County, California. At all times

relevant to this action, it has engaged in a continuous and systematic course of business in New

York State and has also transacted business in New York by operating the web sites for New

Yorkers which is the basis for Plaintiff’s claims in this action.

                ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

A.     PLAINTIFF’S BUSINESS AND REVENUE MODEL

       (i)      Patch’s Business

       5.       Patch is a media news company which has pioneered digital local news content

throughout the country. It operates the patch.com website, which includes separate pages/portions

of the site (referred to as “patches”) throughout the United States, each of which provide hyper-

local news, as well as event listings, classifieds, local weather, and other information of use and

interest to its local readers. By way of example using just three of Patch’s 120 local pages in New

York State, if one lives in the Chelsea area of Manhattan, there is a dedicated page for that

neighborhood (https://patch.com/new-york/chelsea-ny); if one lives in Nyack, the operative page

is found at https://patch.com/new-york/nyack; Albany residents can visit https://patch.com/new-

york/albany-ny;    and   residents   of   the   Bushwick     area   of   Brooklyn   can click    on

https://patch.com/new-york/bushwick.




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       6.       Each of these pages provides local news content down to the granular level of the

reader’s neighborhood. For example, on December 14, 2020, the Bushwick Patch page, and the

Chelsea Patch page both ran stories about the first New York recipient of the Covid-19 vaccine.

However, whereas the Bushwick page highlighted a story about a string of robberies in Brooklyn,

that story was not found on the Chelsea page. The same is true for weather reports on December

14: the Bushwick page listed the temperature at 38 degrees, the temperature listed on the Chelsea

page was 37 degrees, and the temperature listed on the Albany, New York Patch page was 36

degrees.

       7.       Nationwide, Patch provides more than 1,200 distinct, local pages from Anchorage,

Alaska, to Honolulu, Hawaii, to Burlington, Vermont, and in between, including approximately

120 geographic-specific, local news-based web sites throughout New York State alone. It employs

over 100 full-time journalists and close to 90 support and technical staff, all at great expense.

       (ii)     How Patch Earns Money

       8.       Patch makes its money predominantly by selling advertising space on its website

and pages thereof. Part of Patch’s revenue model is akin to traditional media companies, which

sell advertising based upon both the numbers and demographics of its readers or viewers. Hence,

a company will contract with Patch to run the same advertisement across a large number of its

pages because it concludes that Patch serves an audience which is likely to include many potential

customers for the advertiser’s product.

       9.       However, the major part of Patch’s revenue comes from a unique aspect of the

internet economy: the fact that, through the use of “cookies,” advertising on a website or page of

a website can be targeted on a micro-level down to individual visitors to that website or page. A




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“cookie” is a small text file that is stored on a user’s web browser which consists of information

about a user’s visit to a particular website or page.

       10.     As explained on the Federal Trade Commission’s website, there are two types of

“cookies”:

       First-party cookies are placed by the site that you visit. They can make your
       experience on the web more efficient. For example, they help sites remember:

               items in your shopping cart

               your log-in name

               your preferences, like always showing the weather in your hometown

               your high game scores.

       Third-party cookies are placed by someone other than the site you are on. For
       example, the website may partner with an advertising network to deliver some of
       the ads you see. Or they may partner with an analytics company to help understand
       how people use their site. These “third party” companies also may place cookies in
       your browser to monitor your behavior over time.

       Over time, these companies may develop a detailed history of the types of sites you
       frequent, and they may use this information to deliver ads tailored to your interests.
       For example, if an advertising company notices that you read a lot of articles about
       running, it may show you ads about running shoes – even on an unrelated site you’re
       visiting for the first time.

(Emphasis in original)

       11.     Patch’s revenue is primarily driven by third-party cookies. Hence, when a user

clicks on a Patch.com page, there is a virtual and split-second auction for the right to advertise to

that person based upon the information provided by third-party cookies. Therefore, with the

exception of advertisements which, as noted, run across a large number of Patch’s pages pursuant

to contract, each visitor to a Patch page sees individualized advertisements tailored to that visitor

based upon his or her visits to other websites.



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        12.     Both of Patch’s revenue models, then, are driven by the number of visitors to its

sites. Those visitors are attracted in two primary ways.

        13.     First, people find their way on to Patch.com pages through search engines such as

Google, with the goal being that Patch finds itself at the top of a list of search results. For example,

if Patch ran a story about a crime committed in a community and someone conducted a Google

search to learn about the crime, the Patch story would be at the top, or near the top, of the search

results because it ran a substantive story about the crime.

        14.     Second, Patch has mutually beneficial relationships with news aggregators such as

Yahoo News or Google News. A Patch headline might show up on the aggregator’s website

because cookies reveal the location of the user. When the user then clicks on the Patch headline,

he or she is taken directly to the appropriate Patch.com page. This is a symbiotic relationship

between Patch and the aggregator because the aggregator can sell advertising on its website, and

Patch can also sell advertising on its page. However, all that the user sees on the aggregator’s

website is the Patch headline for the story.

B.      NEWS BREAK’S COMPETING BUSINESS

        15.     News Break commenced operations as an aggregator. Over time, its business

morphed into one that appears almost identical to Patch’s by offering local news and weather pages

throughout the country. However, News Break obtains its content through the willful and unlawful

exploitation and copying of Patch’s and other publishers’ original news articles and photographs

for profit. It alters, copies, and delivers to its customers substantial infringing excerpts from Patch

stories, including copyrighted photographs. Simply put, News Break is stealing Patch’s hyper-

local content, which Patch creates through its expertise and at its great expense. Upon information




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and belief, News Break then provides its customers with the ability to store these infringing

materials locally and to further distribute them.

       16.     In doing so, News Break provides a directly competing product for many Patch

readers, who use Patch to monitor the news for breaking developments, with a particular focus on

hyper-local news. As a result, advertising revenue that would otherwise go to Patch as a result of

Patch’s economic investment and professional expertise is diverted to News Break. In contrast,

News Break bears only de minimis costs associated with its misappropriation of Patch’s content.

Additionally, upon information and belief, News Break has facilitated its infringing conduct by

utilizing confidential information that Patch provided to it pursuant to a Non-Disclosure

Agreement (“NDA”). (Exhibit A hereto is a true and accurate copy of the NDA).

       17.     News Break’s conduct is particularly galling because it has taken advantage of

Patch’s efforts to serve its communities during the Pandemic by permitting News Break a narrow

verbal authorization to share Patch’s content related to coronavirus – but only coronavirus. In

other words, after Patch agreed as a public service to share its content relating to the worst public

health disaster that the United States has faced in a century, News Break abused the access Patch

granted to it by then infringing any and all of Patch’s content in order to enjoy the fruits of Patch’s

labors free of charge.

C.     THE BUYOUT / INVESTMENT INQUIRY AND THE NDA

       18.     In the Spring and Summer of 2019, News Break expressed an interest either to buy

Patch, or to otherwise establish a mutually beneficial business relationship with it. Toward that

end, for Patch’s protection, the parties entered into the NDA in July 2019, which provided in

relevant part that Patch would convey confidential information concerning Patch to News Break.

The NDA barred News Break from using any of the confidential information provided by Patch

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for any purpose other than evaluating the possibility of a transaction between Patch and News

Break. (NDA, Exhibit A hereto, at § 1). The NDA further confirmed that it did not grant “any

rights to [News Break], by license or otherwise, to any of the [Patch] Information except as

specified in” the NDA. (Id., § 11). In particular, the NDA stated that “[n]othing in this Agreement

shall be deemed to grant to either party a license under the other party’s copyrights, patents, trade

secrets, trademarks or other intellectual property rights.” (Id.)

       19.     The buyout discussions did not result in a transaction or any other substantive

business relationship. In fact, upon information and belief, the entire process was a sham that

News Break used to gain access to Patch’s business secrets.

       20.     In this connection, pursuant to the NDA, Patch provided News Break with

confidential information, including, but not limited to, its business plan and technical processes.

In reliance upon the NDA, Patch revealed to News Break how it sources hyper-local content and

provided deep insights into its strategy for leveraging that investment in hyper-local content with

search engines, thereby increasing Patch’s traffic on, for example, Google. Patch further shared

with News Break its user-generated content features and revealed to News Break how specific

Patch features drive its user engagement.

D.      THE PANDEMIC ALTERS THE PARTIES’ RELATIONSHIP

       21.     Patch’s and News Break’s negotiations did not result in the consummation of an

agreement. However, in the Winter of 2019-2020, Patch orally agreed with News Break that, as a

public service, News Break could use Patch content concerning Covid-19. This agreement was

expressly limited to coverage that was directly related to Covid-19, and it contained other

restrictions as well. Specifically, Patch and News Break agreed (a) that News Break could only




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obtain and publish coronavirus-related Patch content, and (b) that upon clicking any such

headlines, users would be directed to Patch.com if they wanted to read the underlying article.

       22.     Patch executives and technical specialists then worked with their counterparts at

News Break to allow for News Break to access Patch’s coronavirus content – and only coronavirus

content.

E.     NEWS BREAK’S UNLAWFUL ACTIVITIES

       23.     In violation of the parties’ agreement, News Break began publishing Patch content

that had nothing to do with coronavirus. In addition, in publishing Patch content generally, News

Break introduced intermediary “article” pages both on the Web and in its smart phone application,

that it monetizes to Patch’s detriment. Hence, when an individual would click on a Patch story

appearing on a News Break page, the reader would not, as required by Patch and News Break’s

oral agreement, be immediately re-directed to the actual Patch webpage where the article was

published. Instead, the user would be directed to an intermediate News Break page which contains

the lead of the Patch story to which the user should have been taken after clicking the News Break

link to the story. The user is then sent to the relevant Patch.com page only if he or she clicks a link

stating “Read Full Story.”

       24.     Importantly, the Patch content on the News Break intermediate pages is not

available in the news feeds that Patch provides to aggregators. Rather, News Break improperly

takes Patch’s content for its own use and monetizes it in a manner that was never discussed, let

alone agreed to or permitted by Patch.

       25.     News Break’s use of these intermediate pages improperly aids its business interests

to Patch’s detriment because, inter alia, (a) it often results in a competing search result on a site

such as Google because News Break would appear also to be running a substantive story on the

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subject of the search, thereby potentially leading the reader to News Break’s page instead of

Patch’s, (b) it permits News Break to secure advertising revenue using Patch’s copyrighted stories

and photos, and (c) it undoubtedly results in many readers never clicking through to the Patch page

because they have learned enough about the story from the Patch content on News Break’s

intermediate page.

       26.     Further, upon information and belief, News Break is also allowing Google to crawl

and index (as those terms are used in the industry) original Patch content on News Break’s page,

thereby deceiving Google into ranking News Break for the very content that it is stealing from

Patch. By doing so, News Break is able to siphon off Google search traffic that should legitimately

go to Patch.

       27.     Also, upon information and belief, News Break is representing to third parties that

it has permission to pass along Patch content via feeds to other partners. More specifically, News

Break is using a video-generation platform to generate videos of Patch content. News Break then

represents to third parties that they can legitimately access that content through News Break,

thereby cutting out Patch from the process and exploiting its feeds. Patch provided no such rights

to News Break.

       28.     As part of its unlawful activities, News Break has infringed upon the following,

duly registered Copyrights for photographs contained in Patch articles:

               a.             VA 2-221-794
               b.             VA 2-222-421
               c.             VA 2-221-693
               d.             VA 2-221-700
               e.             VA 2-221-701
               f.             VA 2-221-704
               g.             VA 2-221-627
               h.             VA 2-221-628
               i.             VA 2-222-424
               j.             VA 2-222-423
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    k.          VA 2-221-784
    l.          VA 2-221-788
    m.          VA 2-221-791
    n.          VA 2-221-792
    o.          VA 2-221-632
    p.          VA 2-221-645
    q.          VA 2-221-650
    r.          VA 2-221-653
    s.          VA 2-221-782
    t.          VA 2-221-779
    u.          VA 2-221-786
    v.          VA 2-221-781
    w.          VA 2-221-785
    x.          VA 2-221-622
    y.          VA 2-221-625
    z.          VA 2-221-778
    aa.         VA 2-221-796
    bb.         VA 2-221-780
    cc.         VA 2-221-783
    dd.         VA 2-221-657
    ee.         VA 2-221-659
    ff.         VA 2-221-672
    gg.         VA 2-221-673
    hh.         VA 2-221-675
    ii.         VA 2-221-676
    jj.         VA 2-221-680
    kk.         VA 2-221-681
    ll.         VA 2-221-682
    mm.         VA 2-221-683
    nn.         VA 2-221-684
    oo.         VA 2-221-685
    pp.         VA 2-221-686
    qq.         VA 2-225-620
    rr.         VA 2-225-613
    ss.         VA 2-225-617
    tt.         VA 2-225-611
    uu.         VA 2-225-601
    vv.         VA 2-225-556
    ww.         VA 2-225-397
    xx.         VA 2-221-655
    yy.         VA 2-221-687
    zz.         VA 2-221-689
    aaa.        VA 2-221-691
    bbb.        VA 2-221-696
    ccc.        VA 2-221-698
    ddd.        VA 2-221-629
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               eee.            VA 2-222-422
               fff.            VA 2-221-787
               ggg.            VA 2-221-654
               hhh.            VA 2-221-656
               iii.            VA 2-221-658
               jjj.            VA 2-221-678
               kkk.            VA 2-225-597
               lll.            VA 2-225-595
               mmm.            VA 2-225-564
               nnn.            VA 2-225-362
               ooo.            VA 2-225-395

       29.     A true and accurate copy of a chart containing the dates of registration of the

foregoing copyrights, the dates of the copyrighted photographs’ publication in Patch, and various

identifying information, and includes hyperlinks to the infringing articles on News Break is

annexed hereto as Exhibit B.

       30.     Plaintiff also seeks damages under the Digital Millennium Copyright Act because

News Break has removed and/or altered copyright management information with respect to

numerous Patch articles and photographs from material published on Patch’s New York State-

based feeds. Annexed hereto as Exhibits C-K are compilations of true and accurate copies of

articles as they appeared on various New York-based Patch feeds, followed by the versions of the

articles as published on News Break, which removed and/or altered the copyright management

information. As set forth in Exhibits C-K hereto, the Patch Articles all provide credit for the author

as well as the photographer. By way of contrast, the News Break versions of the articles removed

credit for authorship and photographs. (See id.).1




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               We have used multiple exhibits because the materials are too voluminous to file as
one exhibit.
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         31.   Upon information and belief, News Break has removed and/or altered copyright

management information with respect to numerous additional Patch articles, both within its New

York-based news feeds and also outside of Patch’s New York-based feeds.

                         PLAINTIFF’S FIRST CLAIM FOR RELIEF

                (Direct Copyright Infringement under 17 U.S.C. § 101 et seq.)

         32.   Plaintiff repeats and realleges each and every allegation set forth above as if fully

and completely set forth at length herein.

         33.   The Registered Copyright Works are original works of authorship, embodying

copyrightable subject matter, subject to the full protection of the United States copyright laws.

Plaintiff owns the sole and exclusive right to sue under the copyrights in the Registered Copyright

Works.

         34.   Upon information and belief, as a result of Plaintiff’s reproduction, distribution and

public display of the Registered Copyright Works, Defendant had access to the Registered

Copyright Works prior to the creation of Defendant’s Infringing Works.

         35.   By their actions, as alleged above, Defendant has infringed and violated Plaintiff’s

exclusive rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing

and publicly displaying the Infringing Works.

         36.   Upon information and belief, Defendant’s infringement of Plaintiff’s copyrights is

willful and deliberate, and Defendant has profited at the expense of Plaintiff.

         37.   As a direct and proximate result of Defendant’s infringement of Plaintiff’s

copyrights and exclusive rights in the Registered and Unregistered Copyright Works, Plaintiff is

entitled to recover its actual damages from Defendant’s uses of the Registered and Unregistered

Copyright Works without paying license fees, in an amount to be proven at trial. In addition, at

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Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff shall be entitled to recover damages

based on a disgorgement of Defendant’s profits from infringement of the Registered and

Unregistered Copyright Works, which amounts will be proven at trial.

       38.      In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to the

infringing reproduction, distribution, and public display for each of the Registered Copyright

Works, or such other amounts as may be proper under 17 U.S.C. § 504(c).

       39.      Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant to 17

U.S.C. § 505.

       40.      Defendant’s conduct has caused, and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

                        PLAINTIFF’S SECOND CLAIM FOR RELIEF

             (Violation of The Digital Millennium Copyright Act, 17 U.S.C. § 1202)

       41.      Plaintiff repeats and realleges each and every allegation set forth above as if fully

and completely set forth at length herein.

       42.      Defendant has, on information and belief, intentionally removed copyright

management information included on Plaintiff’s display and publication of the Registered and

Unregistered Copyright Works.

       43.      Upon information and belief, Defendant removed and/or altered copyright

management information knowing or having reasonable grounds to know that such actions would

conceal its infringement of Plaintiff’s copyright.

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       44.     Upon information and belief, Defendant provided and distributed false copyright

management information on the Infringing Works in order to facilitate or conceal the infringement

of Plaintiff’s Registered and Unregistered Copyright Works.

       45.     Upon information and belief, Defendant’s acts in violation of the Digital

Millennium Copyright Act were and are willful.

       46.     By reason of Defendant’s violations of the Digital Millennium Copyright Act,

Plaintiff has sustained and will continue to sustain substantial injuries.

       47.     Further irreparable harm is imminent as a result of Defendant’s conduct, and

Plaintiff is without an adequate remedy at law. Plaintiff is therefore entitled to an injunction, in

accordance with 17 U.S.C. § 1203(b)(1), restraining Defendant, its officers, directors, agents,

employees, representatives, assigns, and all persons acting in concert with Defendant from

engaging in further violations of the Digital Millennium Copyright Act.

       48.     At its election, and in lieu of Defendant’s profits derived from their violations of

the Digital Millennium Copyright Act and Plaintiff’s actual damages, Plaintiff is entitled to recover

statutory damages in accordance with 17 U.S.C. § 1203(c)(3)(B).

       49.     Plaintiff is entitled to recover costs and attorneys’ fees in accordance with 17 U.S.C.

§§ 1203(b)(4) and (5).

                         PLAINTIFF’S THIRD CLAIM FOR RELIEF

                                       (Breach of Contract)

       50.     The NDA is a valid and binding contract between the parties.

       51.     Upon information and belief, Defendant breached the NDA by misappropriating

Patch’s confidential information that was provided to News Break pursuant to the NDA.




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       52.     Plaintiff has been damaged as a result of Defendant’s breaches in an amount to be

determined at trial.

       53.     Additionally, the NDA provides for injunctive relief and Plaintiff is entitled to an

injunction against Defendant’s continued breaches.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

       A.      A declaration that Defendant has infringed Plaintiff’s copyrights in the Registered

               Copyright Works under the Copyright Act;

       B.      A declaration that such infringement is willful;

       C.      An award of such of actual damages and profits under 17 U.S.C. § 504(b) as the

               Court shall deem proper or, at Plaintiff’s election, an award of statutory damages

               as the Court shall deem proper, as provided in 17 U.S.C. § 504(c), including

               damages for willful infringement of up to $150,000 for each copyright infringement

               of the Registered Copyright Works;

       D.      A declaration that Defendant has violated the Digital Millennium Copyright Act by

               intentionally removing copyright management information and intentionally

               providing and distributing false copyright management information to conceal

               infringement;

       E.      Awarding Plaintiff all gains, profits, property, and advantages obtained or derived

               by Defendant from its acts of copyright infringement and violations of the Digital

               Millennium Copyright Act or, in lieu thereof, should Plaintiff so elect, such

               statutory damages as the Court shall deem proper, as provided in 17 U.S.C. §

               1203(c)(3)(B), including damages up to $25,000 for each violation of the Digital

               Millennium Copyright Act;

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F.       Awarding Plaintiff such exemplary and punitive damages as the Court finds

         appropriate to deter any future willful infringement;

G        Awarding Plaintiff its costs and disbursements incurred in this action, including its

         reasonable attorneys’ fees, as provided in 17 U.S.C. §§ 505 and 1203(b)(5);

H.       Awarding Plaintiff interest, including pre-judgment interest, on the foregoing sums;

I.       Permanently enjoining Defendant, its employees, agents, officers, directors,

         attorneys, successors, affiliates, subsidiaries, and assigns, and all those in active

         concert and participation with Defendant, from:

         (a)    directly or indirectly infringing Plaintiff’s copyrights or continuing to

                market, offer, sell, dispose of, license, lease, transfer, publicly display,

                advertise, reproduce, develop, or manufacture any works derived or copied

                from the Plaintiff’s Registered Copyright Works or to participate or assist

                in any such activity; and

         (b)    directly or indirectly removing or altering any copyright management

                information from or providing or distributing any false copyright

                management information in connection with, Plaintiff’s Registered and

                Unregistered Copyright Works;

J.       Awarding Plaintiff damages for Defendant’s breach of contract; and

K.       For such other and further relief as the Court may deem just and proper.

                                  JURY DEMAND

Plaintiff hereby demands a trial by jury pursuant to Fed. R. Civ. P. 38.




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Dated: New York, New York
       December 28, 2020

                                          Yours, etc.,

                                          JUDD BURSTEIN, P.C.


                                          By: /s/ Judd Burstein
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                                                  Peter B. Schalk (PS8257)
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